  Case 1-18-44358-ess      Doc 10    Filed 10/12/18          Entered 10/12/18 15:22:46




                                         Certiticate Number:                  0 140 l   -NYE-DE-03         17   467 64

                                          Bankruptcy Case Number: l8-44358


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             CnnrrrICATE Or DEBToR EnucnrloN

I CERTIFY that on September 6,2018, at l0:43 o'clock AM EDT, Leonard
Becker completed a course on personal financial management given bv internet
by GreenPath, Inc., a provider approved pursuant to I I U.S.C. $ I I I to provide an
instructional course concerning personal financial management in the Eastern
District of New York.




Date:   October I l,2018                  By:        /s/Jerernv Lark


                                          Name: Jeremv Lar!


                                          Title:      FCC Manaser
            Case 1-18-44358-ess               Doc 10          Filed 10/12/18          Entered 10/12/18 15:22:46




B 23 (Official Form 23) (12113)



                                  Ut.rtrso SrerBs BeurnuprcY Counr

                                                                                   Case No.     / & - lYzs-s
                                               Debtor
                                                                                   Chapter /
     DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
             COURSE CONCERI\TING PERSONAL FINAI\CIAL N,IANAGEMENT

     Thisform should not befited fan approved provider ofa postpetition insrructional course concerning personalfinancial
     management has already notifed the court of the debtor's comple.tion of the course. Otherwise, every indivi&tal debtor
     in a chapter 7 or a chapter I 3 case or in a chapter I I case in which $ I 141 (d)(3) applies musl fle this certification. If a
    joint petition isJiled and this certi/ication is required, each spouse must complete andJile a separate certiJication
     Complete one of thefollowing statements andfile by the deadline stated below:


        @              /
                           ".,.,u-)
                           (Pril
                                                 e
                                         of Debtor)
                                                      -L^                    the debtor in the above-styled case, hereby

      certiff that on                                 I completed an instructional course in personal financial management
      provided by                                                                             an approved personal financial
                                                      CName   of Provider)
      management provider.

             Certificate No. (if any):   a//0/*/L)/g-)a -c3i 7q(r7b                                      q
             nr,                                                           the debtor in the above-styled case, hereby
                         (Printed Name of Debtor)
      certifr that no personal financial management course is required because of [Check the appropriate box.J:
                tr Incapacity or disability, as defined in I I U.S.C. $ 109(h);
                E Active military duty in a military combat zone; or
                fl Residence in a district in which the United States trustee (or bankruptcy administrator) has determined that
      the approved instructional courses are not adequate at this time to serve the additional individuals who would otherwise
      be required to complete such courses.

      Signature of Debtor:

      o^r",    Pr/ trr/t,+
    Instructions: Use this form only to certiff whether you completed a course in personal financial management and only if
    your course provider has not already notified the court ofyour completion ofthe course. (Fed. R. Bankr. P. 1007(bX7).)
    Do NOT use this form to file the certificate given to you by your prepetition credit counseling provider and do NOT
    include with the petition when filing your case.

    Filing Deadlines.' In a chapter 7 case, file within 60 days of the first date set for the meeting of creditors under
    $ 34 I of the Bankruptcy Code. In a chapter I I or I 3 case, file no later than the last payment made by the debtor as
    required by the plan o1 the filing ofa motion for a discharge under $ I 141(dX5XB) or g l32S(b) ofthe Code. (See Fed.
    R. Bankr. P. 1007(c).)
